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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORE
500 PEARL STREET
NEW YORK, NEW YORK 10007

CHAMBERS OF

ARUN SUBRAMANIAN

UNITED STATES DISTRICT JUDGE

July 1, 2025

Dear Jurors:

In response to the jury’s question, the Court refers the jury to page 37, lines 1-3 of

its jury charge, which reads:

The word “distribution” means actual, constructive, or attempted transfer. To
distribute simply means to deliver, to pass over, or to hand over something to another
person, or to cause it to be delivered, passed on, or handed over to another. Distribution

does not require a sale.

Respectfully,

Lp

Hon. Arun Subramanian

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